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14                                UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16 WHATSAPP, INC., et al.,                       Case No. 4:19-CV-07123-PJH
17
                   Plaintiffs,                   CERTIFICATE OF SERVICE OF
18                                               UNREDACTED DOCUMENT FILED
                         v.                      UNDER SEAL
19
     NSO GROUP TECHNOLOGIES LIMITED, et
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     al.,
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                    Defendants.
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     CERTIFICATE OF SERVICE
     CASE NO. 4:19-CV-07123-PJH
          Case 4:19-cv-07123-PJH Document 325 Filed 06/27/24 Page 2 of 3




 1                                       CERTIFICATE OF SERVICE

 2            I hereby certify that I am a citizen of the United States over the age of eighteen years, and
 3 not a party to this action; I am employed by the law firm of ZwillGen PLLC; my business address is

 4 1900 M Street NW, Suite 250, Washington, DC 20036. On June 27, 2024 I served a true and

 5 correct copy of the following documents in the manner described below:

 6           DECLARATION OF STEVEN LANE IN SUPPORT OF NONPARTY DR.
 7            WILLIAM MARCZAK’S ADMINISTRATIVE MOTION TO CONSIDER
              WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
 8
             EXHIBIT A – JOINT LETTER CONCERNING DR. MARCZAK’S MOTION TO
 9            QUASH DEFENDANT’S NSO GROUP TECHNOLOGIES LIMITED AND Q
              CYBER TECHNOLOGIES LIMITED DOCUMENT AND DEPOSITION
10            SUBPOENAS [UNREDACTED VERSION – FILED UNDER SEAL]
11

12           BY ELECTRONIC SERVICE: By electronically mailing a true and correct copy
              through ZwillGen PLLC’s electronic mail system to the email addresses set
13            forth below.
14 On the following part(ies) in this action:

15
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27

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     CERTIFICATE OF SERVICE
     CASE NO. 4:19-CV-07123-PJH
          Case 4:19-cv-07123-PJH Document 325 Filed 06/27/24 Page 3 of 3




 1          I declare under the penalty of perjury under the laws of the United States of America that the
     above is true and accurate.
 2
            Executed on June 27, 2024 in Washington, D.C.
 3

 4
                                                  /s/ Steven L. Lane
 5
                                                  Steven L. Lane
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     CERTIFICATE OF SERVICE
     CASE NO. 4:19-CV-07123-PJH
